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                         UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF OHIO
                              WESTERN DIVISION

ADAM GAYAR,                              :      Case No. 1:17CV00447
                                         :
       Plaintiff,                        :      Judge Susan J. Dlott
                                         :
vs.                                      :
                                         :
UNIVERSITY OF CINCINNATI,                :
COLLEGE OF MEDICINE                      :
                                         :
       Defendant.                        :

_______________________________________________________

                STIPULATION FOR DISMISSAL
 ______________________________________________________

       Pursuant to Federal Rule of Civil Procedure 41(a), Plaintiff Adam Gayar and

Defendant University of Cincinnati, College of Medicine stipulate to the dismissal of this

action with prejudice.

                           Respectfully submitted,



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